                                                                                                C-570-968
                                                                                                   Remand
                                                                                        Court No. 22-00079
                                                                                         Public Document
                                                                                       E&C/OVI: PNC/RRL


                         Kingtom Aluminio, S.R.L., et al v. United States
                                     Court No. 22-00079
                    Aluminum Extrusions from the People’s Republic of China

     FINAL RESULTS OF REDETERMINATION PURSUANT TO COURT REMAND

I.      SUMMARY

             The U.S. Department of Commerce (Commerce) prepared these final results of

     redetermination pursuant to the Remand Order of the U.S. Court of International Trade (CIT

     or the Court) issued on November 6, 2024.1 These final results of redetermination concern

     the final results of the 2019 administrative review of the countervailing duty (CVD) order on

     aluminum extrusions from the People’s Republic of China (China).2

             In its Remand Order, the Court remanded this case to Commerce to reconsider our

     determinations in the Final Results in light of the remand results of Global Aluminum3 and

     H&E Home,4 and, if appropriate, to reopen the record and seek additional information and

     submissions as needed.

             As set forth in detail below, pursuant to the Court’s Remand Order, Commerce has

     reconsidered our determinations in the Final Results in light of the remand results of Global

     Aluminum5 and H&E Home. For purposes of these final results of redetermination, we


1
  See Kingtom Aluminio S.R.L., et al v. United States, Court No. 22-00079, ECF No. 44 (November 6, 2024)
(Remand Order).
2
  See Aluminum Extrusions from the People’s Republic of China: Final Results of Countervailing Duty
Administrative Review and Recission of Review, in Part; 2019, 87 FR 7423 (February 9, 2022) (Final Results), and
accompanying Issues and Decision Memorandum (IDM).
3
  See Global Aluminum Distrib. LLC v. United States, 585 F. Supp. 3d 1338 (CIT 2022) (Global Aluminum).
4
  See H&E Home, Inc. v. United States, 714 F. Supp.3d 1353 (CIT 2024) (H&E Home).
5
  See Global Aluminum, 585 F. Supp. 3d at 1338.
      accept Kingtom’s Alumino S.R.L.’s (Kingtom’s) No Shipments Letter and determine that

      Kingtom had no dutiable entries of subject merchandise into the United States during the

      period of review (POR).6 Consequently, upon the final decision of the Court, we intend to

      publish in the Federal Register a notice of amended final results, which states our

      determination that there are no reviewable entries during the POR by Kingtom and rescinds

      the administrative review with regard to that company.

II.      BACKGROUND

             In the Final Results, Commerce made no change from the Preliminary Results,7 in

      which we had rejected the contention in Kingtom’s No Shipment Letter that it had no entries

      of subject merchandise during the POR.8 We found that Kingtom did have entries of subject

      merchandise during the POR because CBP had specifically recategorized Kingtom’s entries

      as type 03 (i.e., entry for consumption subject to AD/CVD duties) based upon its

      determination of evasion.9 In the Preliminary Results, we stated:

             Here, {U.S. Customs and Border Protection} CBP has, through its {Enforce and
             Protect Act} EAPA proceedings, determined that there has been both evasion of
             countervailing duties regarding the entries covered by those investigations and
             transshipment. Here, we have relied upon CBP’s determination that the entries of
             aluminum extrusions by Kingtom during the periods covered by the EAPA
             proceedings (which overlap with the POR here) are subject to the Order. It is our
             understanding that Congress intended for both {antidumping duty} AD/CVD trade
             remedy laws and CBP’s evasion laws to be implemented and enforced in tandem, to
             prevent and address injurious dumping and subsidies, as well as to prevent and
             address evasion and transshipment. Consequently, we preliminarily find that

6
  See Kingtom’s Letter, “Certification of No Sales, Shipments, or Entries,” dated August 10, 2020 (Kingtom’s No
Shipments Letter).
7
  See Aluminum Extrusions from the People’s Republic of China: Preliminary Results of Countervailing Duty
Administrative Review and Intent to Rescind, in Part; 2019, 86 FR 43174 (August 6, 2021) (Preliminary Results),
and accompanying Preliminary Decision Memorandum (PDM).
8
  See Kingtom’s No Shipments Letter at 2.
9
  See Preliminary Results PDM at 4; see also Petitioner’s Letter, “Comments on Kingtom’s Section A Questionnaire
Response,” dated January 7, 2021, at Attachment 1 (CBP’s November 2, 2020, EAPA Consolidated Investigation
7348 Determination, which states (at 18): “For those entries previously extended in accordance with Interim
Measures, CBP will rate adjust and change those entries to type 03 and continue suspension until instructed to
liquidate these entries.”).

                                                       2
            Kingtom’s statement of no shipments conflicts with CBP’s EAPA Final
            Determination.

            Moreover, because Kingtom did not report to CBP any shipments of subject
            merchandise during the POR, Kingtom did not appear in our CBP data query as
            having any suspended entries. However, based on the aforementioned results of the
            CBP’s EAPA investigations and information provided by CBP in response to our no-
            shipment inquiry, we find that Kingtom should have reported shipments of subject
            merchandise during the POR to both CBP and Commerce.10

In the Final Results, we stated:

        Commerce was under no obligation in this administrative review to second-guess the
        EAPA Final Determinations made by CBP, challenge the procedures taken by CBP in
        conducting its EAPA investigation, or “peek behind the curtain” of the merits of its
        transshipment and evasion conclusions in this administrative review.11

Additionally, we stated:

        In addition, we continue to emphasize that Commerce does not believe it is appropriate in
        the context of administrative review to analyze and reconsider CBP’s conclusions in
        reaching its determinations in the CBP EAPA determinations.12

Hence, Commerce made it clear in both the Preliminary Results and the Final Results that our

evaluation of the treatment of the entries under review as type 03 was made to be consistent with

CBP’s determinations of evasion and the resultant recategorization of Kingtom’s entries.13


10
   See Preliminary Results PDM at 10-11 (internal citations omitted).
11
   See Final Results IDM at 32.
12
   Id. at 33.
13
   Indeed, this position was mirrored and succinctly explained in our treatment of the scope inquiry request
submitted by Kingtom. See Memorandum, “Placement of Scope Initiation Deferral Letter on the Record,” dated
July 30, 2021, at Attachment pages 1-2:

        On the record of the AD administrative review is the public version of CBP’s November 2, 2020, Enforce
        and Protect Act (EAPA) Consolidated Investigation 7348 determination that Global and other importers
        entered covered Kingtom merchandise into the customs territory of the United States through evasion. CBP
        suspended or continued to suspend the entries subject to that investigation. For entries previously
        suspended in accordance with its interim measures, CBP rate-adjusted and changed those entries to type 03
        and continued suspension. CBP’s determination additionally referenced the then ongoing EAPA
        Consolidated Investigation 7428, which also included Kingtom, Global, and all other importers. The
        periods of investigation for these two EAPA proceedings are (a) January 10, 2019, through January 28,
        2021, and (b) October 9, 2018, through November 2, 2020.




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         On March 9, 2022, Kingtom filed suit challenging the Final Results, while it and other

interested parties simultaneously challenged CBP’s EAPA determinations in separate lawsuits.14

On August 1, 2022, this case was stayed pending the outcome of remand proceedings in the two

cases involving the EAPA determinations, Global Aluminum and H&E Home.15 In both cases,

the Court upheld CBP’s determinations, on remand, to reverse its affirmative evasion finding

with respect to Kingtom.16 Therefore, the Court in this case granted Commerce’s motion for a

voluntary remand to consider the impact of Global Aluminum and H&E Home on Commerce’s

findings in the Final Results.17

         On January 31, 2025, we released our draft results of redetermination to interested

parties.18 On February 7, 2025, Kingtom timely submitted comments on the Draft Results.19 No

other party commented.

III.     ANALYSIS

         In the Remand Order, the Court ordered that “…the case is remanded to Commerce to

reconsider its determinations in the {Final Results} and the accompanying Final IDM, in light of




         With respect to Kingtom’s request that we conduct this scope review in conjunction with the ongoing 2019-
         2020 AD administrative review, these CBP measures therefore encompass all of Kingtom’s entries subject
         to the ongoing AD administrative review’s period of review of May 1, 2019, through April 30, 2020, which
         are suspended as type 03 entries. We must consider these determinations conclusive under section 517 of
         the Tariff Act of 1930, as amended, in the context of the administrative review.

         Consequently, for entries covered by completed or ongoing EAPA proceedings, or appeals or litigation
         arising from them, we defer initiation of tis scope inquiry until such time as there are entries not subject to
         EAPA proceedings or until the parties to the EAPA proceedings have exhausted all other administrative and
         legal remedies.
14
   See Summons, ECF No. 1 (March 10, 2022) and Complaint, ECF No. 8 (April 8, 2022).
15
   See Order, ECF No. 29 (August 1, 2022).
16
   See Global Aluminum, 585 F. Supp. 3d at 1355; see also H&E Home, 714 F. Supp. 3d at 1380.
17
   See Remand Order at 1-3.
18
   See Draft Results of Remand Redetermination Kingtom Aluminio S.R.L., et al v. United States, Court No. 22-
00079, ECF No. 44, dated November 6, 2024 (Draft Results).
19
   See Kingtom’s Letter, “Comments on Draft Results of Redetermination Pursuant to Court Remand,” dated
February 7, 2025 (Kingtom Remand Comments).

                                                           4
the remand results of Global Aluminum and H&E Home, and, if appropriate, to reopen the record

and to seek additional information and submissions as needed.”20

        As an initial matter, we find that it is not necessary to reopen the record of this

administrative review to seek additional information or submissions because all necessary

information already exists on the underlying record of this proceeding.

        In Global Aluminum, the Court sustained CBP’s remand redetermination, which found

that there “was not substantial evidence to support a finding of evasion” by Kingtom.21

Likewise, in H&E Home, the Court sustained CBP’s remand redetermination, which found that

“substantial evidence on the record as a whole does not support a finding of evasion” by

Kingtom.22

        In the Initiation Notice for this administrative review, we stated that parties that had “no

exports, sales, or entries” of subject merchandise during the POR must notify Commerce.23

Kingtom timely submitted a No Shipments Letter in response.24 Thereafter, Commerce followed

its standard practice in cases where a party submits a statement of no shipments and issued

instructions to Customs requesting data on any POR entries by the company in question. In

verifying Kingtom’s No Shipment Letter in this manner, we found the Kingtom’s POR entries

were classified as type 03.25 Now, however, with no finding of evasion, the basis for CBP’s

recategorization of Kingtom’s POR entries as type 03 no longer exists. Absent the finding of

evasion and CBP’s recategorization of Kingtom’s POR entries as type 03, we determine that the

basis for finding that Kingtom had POR entries of subject merchandise also no longer exists.


20
   Id. at 4.
21
   See Global Aluminum, 585 F. Supp.3d at 1355.
22
   See H&E Home, 714 F.Supp.3d at 1365, 1380.
23
   See Initiation of Antidumping and Countervailing Duty Administrative Reviews, 85 FR 41540 (July 10, 2020)
(Initiation Notice).
24
   See Preliminary Results PDM at 11; see also Kingtom’s No Shipments Letter.
25
   See Preliminary Results PDM at 11.

                                                       5
Consequently, in our Draft Results, we accepted Kingtom’s No Shipments Letter and we found

that that Kingtom had no shipments of subject merchandise during the POR.26

        We also stated in the Draft Results that, upon the final decision of the Court, we intend to

publish in the Federal Register a notice of amended final results stating that the 2019

administrative review of the CVD order on aluminum extrusions from China is rescinded with

regard to Kingtom, because there are no reviewable entries during the POR by Kingtom.27

IV.     INTERESTED PARTY COMMENTS ON DRAFT RESULTS OF
        REDETERMINATION

        As stated above, on January 31, 2025, we released our Draft Results of Redetermination

to interested parties.28 On February 7, 2025, Kingtom timely submitted comments, in which it

stated that it agreed with Commerce’s determination in the Draft Results of Redetermination.29

We received no other comments. Therefore, we make no changes for these final results of

redetermination.

V.      FINAL RESULTS OF REDETERMINATION

        For these final results of redetermination, we find that Kingtom had no shipments of

subject merchandise during the POR. Upon a final and conclusive decision in this litigation, as

appropriate, Commerce will publish in the Federal Register a notice of amended final results

stating that, since there are no reviewable entries during the POR by Kingtom, the

2019administrative review of the CVD order on aluminum extrusions from China is rescinded




26
   See Draft Results.
27
   Id.
28
   Id.
29
   See Kingtom Remand Comments at 2 (“{Commerce} reasonably accepted Kingtom’s no shipment letter, and
{Commerce’s} determination that Kingtom had no shipments of subject merchandise during the period of review is
supported by substantial evidence.”).

                                                       6
with regard to Kingtom. Commerce will issue appropriate instructions to CBP consistent with

these final results of redetermination.
                                3/3/2025



X
Signed by: CHRISTOPHER ABBOTT

Christopher Abbott
Deputy Assistant Secretary
 for Policy and Negotiations,
 performing the non-exclusive functions and duties
 of the Assistant Secretary for Enforcement and Compliance




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